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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA

EDIBLE IP, LLC
and
EDIBLE ARRANGEMENTS, LLC,

                   Plaintiff,
                                                   Civil Action No. 1:20-cv-2405-
                   -against-
                                                   SCJ
1-800-FLOWERS.COM, INC.
and
800-FLOWERS, INC.,

                  Defendants.

                    STIPULATED PROTECTIVE ORDER
      WHEREAS Edible IP, LLC, Edible Arrangements, LLC, 1-800-Flowers.com,

Inc., and 800-Flowers, Inc. (the “Parties”) each possess information relating to this

matter that they consider confidential;

      WHEREAS, the Parties recognize that, in the course of discovery in this

lawsuit, it may be necessary to disclose such confidential information to the other

party, but they desire to ensure that such confidential information shall not be made

public;

      WHEREAS, the Parties, by and through their respective counsel of record,

have stipulated to entry of this Order to prevent unnecessary disclosure or

dissemination of their confidential information;
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       IT IS HEREBY STIPULATED AND AGREED by and among counsel for

the Parties, and subject to the approval of the Court, as follows:

I.     PROCEEDINGS AND INFORMATION GOVERNED.
       1.     This Order (“Protective Order”), made under Fed. R. Civ. P. 26(c),

governs any document, information, or other thing furnished by any party to any

other party, and it includes any non-party who receives a subpoena in connection

with this action. The information protected includes, but is not limited to: answers

to interrogatories; answers to requests for admission; responses to requests for

production of documents; deposition transcripts and videotapes; deposition exhibits;

and other writings or things produced, given or filed in this action that are designated

by a party as “Confidential Information” or “Highly Confidential – Outside

Attorneys’ Eyes Only Information” in accordance with the terms of this Protective

Order, as well as to any copies, excerpts, abstracts, analyses, summaries,

descriptions, or other forms of recorded information containing, reflecting, or

disclosing such information. Such information may only be used for purposes of this

litigation.

II.    DESIGNATION AND MAINTENANCE OF INFORMATION.

       2.     For purposes of this Protective Order:
       (a)    the “Confidential Information” designation means that the document is

comprised of information or items containing or reflecting confidential or


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commercial information that is not publicly known or other information required by

law or agreement to be kept confidential;

      (b)    the “Highly Confidential – Outside Attorneys’ Eyes Only” designation

means that the document is comprised of information that the producing party deems

especially sensitive, which may include, but is not limited to, (i) proprietary financial

or technical information, (ii) commercially sensitive competitive information, (iii)

information obtained from a non-party pursuant to a nondisclosure agreement, (iv)

strategic plans or technical documents that the producing party reasonably believes

would reveal trade secrets, (v) settlement agreements or settlement communications,

and (vi) confidential technical, sales and financial information if the producing party

reasonably believes that the disclosure of such information is likely to cause

economic harm or competitive disadvantage to the producing party; and

      (c)    As used herein, “Protected Material” refers to materials or information

designated as “Confidential” or “Highly Confidential – Outside Attorneys’ Eyes

Only” under the terms of this Protective Order.

      3.     Documents and things produced during the course of this litigation

within the scope of Paragraph 2(a) above may be designated by the producing party

as containing Confidential Information by placing on each page and each thing a

“Confidential” legend. For documents produced in native format, the designating

party may designate the confidentiality of the produced document in the file name.

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When designating native documents in the file name an abbreviation of “Conf” for

“Confidential Information” will suffice.

      4.     Documents and things produced during the course of this litigation

within the scope of Paragraph 2(b) above may be designated by the producing party

as containing Highly Confidential – Outside Attorneys’ Eyes Only Information by

placing on each page and each thing a legend substantially as follows: “Highly

Confidential – Outside Attorneys’ Eyes Only.” For documents produced in native

format, the designating party may designate the confidentiality of the produced

document in the file name. When designating native documents in the file name an

abbreviation of “HC-OAEO” for “Highly Confidential – Outside Attorneys’ Eyes

Only Information” will suffice.

      5.     A party may designate information disclosed at a deposition as

Protected Material by requesting the reporter to so designate the transcript or any

portion of the transcript at the time of the deposition. If no such designation is made

at the time of the deposition, any party will have fourteen (14) calendar days after

the date of the deposition to designate, in writing to the other parties and to the court

reporter, whether the transcript is to be designated as Confidential Information or

Highly Confidential – Outside Attorneys’ Eyes Only Information. If no such

designation is made at the deposition or within this fourteen (14) calendar day period

(during which period, the transcript must be treated as Highly Confidential – Outside

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Attorneys’ Eyes Only Information, unless the disclosing party consents to less

confidential treatment of the information), the entire deposition will be considered

devoid of Protected Material. Each party and the court reporter must attach a copy

of any final and timely written designation notice to the transcript and each copy of

the transcript in its possession, custody or control, and the portions designated in

such notice must thereafter be treated in accordance with this Protective Order. It is

the responsibility of counsel for each party to maintain materials containing

Protected Material in a secure manner and appropriately identified so as to allow

access to such information only to such persons and under such terms as is permitted

under this Protective Order. To the extent that entire deposition transcripts or large

portions of deposition transcripts are marked as containing Protected Material, the

Parties shall work in good faith to de-designate as much material as possible before

the deadlines for dispositive motions and pretrial filings.

III.   INADVERTENT FAILURE TO DESIGNATE.
       6.    An inadvertent failure to designate qualified information or items does

not, standing alone, waive the designating party’s right to secure protection under

this Protective Order for such material. In the event that the producing party

inadvertently fails to designate qualified information as Protected Material, it may

at any time, make a confidentiality designation subsequently by notifying all parties

or persons to whom such discovery information was produced, in writing, as soon


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as practicable. Upon correction of a designation, the receiving party must make

reasonable efforts to assure that the material is treated in accordance with the

provisions of this Protective Order. If at the time of such correction, the receiving

party has already disclosed the Protected Material in a manner inconsistent with the

corrected designation, the receiving party shall comply with the procedures set forth

at Paragraphs 19–20 below. Upon written agreement or order of the Court that

confidential information shall be treated as Protected Material, the producing party

or person shall re-produce the confidential information with the appropriate

confidentiality designation.

IV.   CHALLENGE TO DESIGNATIONS.

      7.      A party may request in writing to the other party that the designation

given to any information be modified or withdrawn. If the designating party does

not agree to redesignation within ten (10) days of receipt of the written request, the

requesting party may contact the Court for relief. Under such circumstances, the

burden shall be on the designating party to show why its classification is proper, and

the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the Local Rules

of the Court, and any other applicable orders or procedures of this Court shall apply.

Pending the Court’s determination, the designation of the designating party shall be

maintained.




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V.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
      PROTECTED MATERIAL.
      8.     Pursuant to Fed. R. Evid. 502(d) and (e), production of privileged or

work-product protected documents or information, including electronically stored

information, is not a waiver of the privilege or protection in connection with

discovery in this case or any other federal proceeding. A party may request the

return or destruction of such information, which request shall identify the

information and provide an appropriate log. When a producing party or receiving

party identifies such privileged or protected information, a receiving party: (i) shall

not use, and shall immediately cease any prior use of, such information; (ii) shall

take reasonable steps to retrieve the information from others to which the receiving

party disclosed the information; and (iii) shall within five (5) business days of the

producing party’s request return to the producing party or destroy the information

and destroy all copies thereof. Should a dispute arise as to whether the information

produced is in fact privileged or subject to the work-product doctrine, nothing in this

paragraph shall prevent the receiving party from seeking relief from the Court if the

parties reach an impasse.

VI.   DISCLOSURE AND USE OF CONFIDENTIAL INFORMATION.
      9.     Absent agreement of the parties, information designated as Protected

Material may only be disclosed to or used by persons expressly authorized under this

Protective Order. In addition, a receiving party may disclose and/or use Protected

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Material only to the extent such disclosure or use is reasonably necessary to

prosecute, defend, or attempt to settle this case, including any appeal.

      10.    Subject to Paragraph 12 below, “Confidential Information” may be

disclosed by the receiving party only to the following individuals, and only if such

individuals covered by sections (a)–(b) and (e) of this paragraph agree to and sign

the Confidentiality Agreement in the form attached as Exhibit A of this Protective

Order:

      (a)    up to six (6) in-house counsel or other employees;

      (b)    outside counsel for the receiving party;

      (c)    supporting personnel employed by outside counsel for the receiving

      party, such as paralegals, legal secretaries, data entry clerks, and legal clerks;

      (d)    experts or consultants retained through outside counsel for the purpose

      of this litigation and their direct reports and support staff;

      (e)    any persons retained through outside counsel to furnish services such

      as document review or coding, image scanning, mock trial, jury profiling,

      translation services, court reporting services, demonstrative exhibit

      preparation, the creation of any computer database from documents, or other

      similar litigation services; and

      (f)    the Court and its personnel and any other persons or authorities as the

      Court orders or directs.

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      11.         Subject to Paragraph 12 below, “Highly Confidential – Outside

Attorneys’ Eyes Only Information” may be disclosed by the receiving party only to

the individuals described in paragraph 10 (b)-(f) above, provided that such

individuals covered by paragraph 10(d) agree to and sign the Confidentiality

Agreement in the form attached as Exhibit A of this Stipulated Protective Order.

      12.         Except as may be otherwise ordered by the Court, any person may be

examined at deposition about any Protected Material to the extent such person

previously authored, received, or otherwise has knowledge of the Protected Material.

Without in any way limiting the generality of the foregoing, a receiving party may

disclose Protected Material to a person who is not already allowed access to such

information if:

            (a)     the person is a current director, officer, or employee of the

designating party;

            (b)     the person is selected by the designating party to provide testimony

pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure;

            (c)     the person is a former director, officer, or employee of the

designating party and previously authored or received the Protected Material; or

            (d)     counsel for the designating party agrees that the Protected Material

may be disclosed to the person.




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      In the event of disclosure under this paragraph, only the reporter, the person,

his or her counsel, the Court, and persons to whom disclosure may be made and who

are bound by this Protective Order, may be present during the disclosure or

discussion of the Protected Material.     Disclosure of material pursuant to this

paragraph does not constitute a waiver of the confidential status of the material so

disclosed.

VII. NON-PARTY INFORMATION.

      13.    The existence of this Protective Order must be disclosed to any person

producing documents, tangible things, or testimony in this action. Any such person

may designate documents, tangible things, or testimony confidential pursuant to this

Protective Order. In the event that a third party produces information in this action

but does not mark the information as “Highly Confidential – Outside Attorneys’

Eyes Only”, all persons having access to the information nevertheless shall treat the

information as Highly Confidential – Outside Attorneys’ Eyes Only for a period of

fourteen (14) days, during which time, either Plaintiffs or Defendants may designate

material produced by the third party as Protected Material if they determine that the

information belongs to them and would have been so designated had they produced

it.




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VIII. FILING DOCUMENTS WITH THE COURT.

      14.    Without written permission from the designating party or a court order

secured after appropriate notice to all interested persons, a party may not file in the

public record in this action any information or items designated in this action as

Protected Material. A party that seeks to file under seal any Protected Material must

do so in accordance with the provisions of the United States District Court for the

Northern District of Georgia’s Revised Electronic Case Filing Standing Order and

Administrative Procedures and N.D. Ga. LR LR 5.1(A). The filing party will

thereafter confer with opposing counsel regarding the redactions to be made prior to

the filing of public versions of the document pursuant to the Court’s procedures.

      15.    Producing or receiving Protected Material, or otherwise complying

with the terms of this Protective Order, will not (i) operate as an admission by any

party that any particular Protected Material contains or reflects trade secrets or any

other type of confidential or proprietary information; (ii) prejudice the rights of a

party to object to the production of information or material that the party does not

consider to be within the scope of discovery; (iii) prejudice the rights of a party to

seek a determination by the Court that particular materials be produced; (iv)

prejudice the rights of a party to apply to the Court for further protective orders; or

(v) prevent the Parties from agreeing in writing to alter or waive the provisions or




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protections provided for in this Protective Order with respect to any particular

information or material.

IX.   CONCLUSION OF LITIGATION.
      16.    Within sixty (60) calendar days after final judgment in this action,

including the exhaustion of all appeals, or within sixty (60) calendar days after

dismissal pursuant to a settlement agreement, each party or other person subject to

the terms of this Protective Order is under an obligation to destroy or return to the

producing party all materials and documents containing Protected Material and to

certify to the producing party that this destruction or return has been done. However,

outside counsel for any party is entitled to retain all court papers, trial transcripts,

exhibits, and attorney work product provided that any such materials are maintained

and protected in accordance with the terms of this Protective Order. Additionally,

no entity is required to destroy information retained on a disaster recovery backup

system.

      17.    Even after final judgment, the confidentiality obligations imposed by

this Protective Order shall remain in effect until a producing party agrees otherwise

in writing, the information becomes public, or a court order otherwise directs.

XI.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL.

      18.    If a receiving party learns that, by inadvertence or otherwise, it has

disclosed to any person or in any circumstance not authorized under this Protective


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Order, the receiving party must immediately (i) notify in writing the disclosing party

of the unauthorized disclosures; (ii) use its best efforts to retrieve all unauthorized

copies of the Protected Material; (iii) inform the person or persons to whom

unauthorized disclosures were made of all the terms of this Protective Order; and

(iv) request such person or persons to execute the Confidentiality Agreement in the

form that is attached hereto as Exhibit A.

      19.    Nothing in this Protective Order abridges the right of any person to seek

its modification by the Court in the future.

XII. REMEDIES.

      20.    It is Ordered that this Protective Order will be enforced by the sanctions

set forth in Fed. R. Civ. P. 37(b) and any other sanctions as may be available to the

Court, including the power to hold parties or other violators of this Protective Order

in contempt. All other remedies available to any person injured by a violation of

this Protective Order are fully reserved.

      21.    Any party may petition the Court for good cause shown if the party

desires relief from a term or condition of this Protective Order.

XIII. OTHER PROCEEDINGS.

      22.    By entering this Order and limiting the disclosure of information in this

case, the Court does not intend to preclude another court from finding that

information may be relevant and subject to disclosure in another case. Any person


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or party subject to this order who becomes subject to a motion to disclose another

party’s information designated “Confidential Information” or “Highly Confidential

– Outside Attorneys’ Eyes Only Information” pursuant to this Order shall promptly

notify that party of the motion so that the party may have an opportunity to appear

and be heard on whether that information should be disclosed.




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AGREED:

Dated: February 8, 2022
                                       KILPATRICK TOWNSEND &
MAHAFFEY PICKENS
                                       STOCKTON LLP
TUCKER, LLP
                                       By: /s/ Charles H. Hooker III
By: /s/Andrew D. Stancil
                                       Judith A. Powell
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Phone: (202) 402-9400


Attorneys for Plaintiffs



                                                           February 2022.
                                               10th day, ___________
                           SO ORDERED on this _____

                                       s/Steve C. Jones
                                    ____________________________________
                                                    United States District Judge




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                                  Exhibit A

                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA

EDIBLE IP, LLC
and
EDIBLE ARRANGEMENTS, LLC,

                  Plaintiff,
                                               Civil Action No. 1:20-cv-
                  -against-
                                              2405-SCJ
1-800-FLOWERS.COM, INC.
and
800-FLOWERS, INC.,

                Defendants.


              CONFIDENTIALITY AGREEMENT FOR EXPERT,
              CONSULTANT OR EMPLOYEES OF ANY PARTY

1. My name is

   ___________________________________________________________.

2. I reside

   at

                                   .

3. My current employer

   is                                                                 .
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4. My current occupation or job description

     is                                                   .

5. I have read the Stipulated Protective Order dated                           , 20___, and

     have been engaged as                                                                 on

     behalf of                                                    in the preparation and

     conduct of the above-caption case.


6.        I hereby affirm that:

          Information, including documents and things, designated as “Confidential

Information” or “Highly Confidential – Outside Attorneys’ Eyes Only Information” as

defined in the Protective Order entered in the above-captioned action (“Protective

Order”), is being provided to me pursuant to the terms and restrictions of the Protective

Order. I have been given a copy of and have read the Protective Order.

          I am familiar with the terms of the Protective Order and I agree to comply with

and to be bound by its terms.

          I submit to the jurisdiction of this Court for enforcement of the Protective Order.

I agree not to use any Confidential Information or Highly Confidential – Outside

Attorneys’ Eyes Only Information disclosed to me pursuant to the Protective Order

except as permitted under the Protective Order and not to disclose any of this

information to persons other than those specifically authorized by the Protective Order,

without the express written consent of the party who designated the information as

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confidential or by order of the presiding judge. I also agree to notify any support staff

who are required to assist me of the terms of this Protective Order and require them to

likewise sign this undertaking.

      I understand that I am to retain all documents or materials designated as or

containing Confidential Information or Highly Confidential – Outside Attorneys’ Eyes

Only Information in a secure manner, and that all such documents and materials are to

remain in my personal custody until the completion of my assigned duties in this matter,

whereupon all such documents and materials, including all copies thereof, and any

writings prepared by me containing any Confidential Information or Highly

Confidential – Outside Attorneys’ Eyes Only Information are to be destroyed or

returned to counsel who provided me with such documents and materials.



Signature: ________________________

Print Name: ______________________

Date: ____________________________




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